
Mr. Justice Miller
delivered the opinion of the court:
These are cross appeals from the judgment of the Court of Claims.
*104Mr. Smoot claims of the United States a large sum of money for the profits which he might have made out of two contracts with Quartermaster Eakin, for delivering cavalry horses for the use of the army — two thousand five hundred at Saint Louis and two thousand at Chicago. It is neither alleged nor proved that he ever tendered a horse at either place, or attempted otherwise to perform his contract, or that he was ready to do so, or that he owned any horses, or had expended a dollar in preparing to fulfill his contract. The proposition on which claimant; rests his right to these speculative profits is not on account of anything he had done, or offered to do toward performance, or any actual loss suffered, but that after the contract was made, the Cavalry Bureau of the War Department adopted and published rules governing the inspection of horses purchased for that service, differing from those in use at the time the contraet was made. It is not asserted that these rules required a higher or more difficult standard of quality iit the horses, but that the mode in which that standard was to be ascertained was so changed as to impose a greater hardship, or burden, upon the contractor. Nor is it claimed that these new regulations were adopted with special reference to their application to Smoot’s contracts. They were a new regulation of the business of inspection of a general character. The contracts sued on, which are identical, except in the number of horses and the place of delivery, provided for an inspection j but it is argued that the new regulations were not only a departure from those in use when the contracts were made, and imposed an additional burden on the contractor, but that, conceding the right of the Bureau to make proper and reasonable regulations for inspection, these were unreasonable and improper. The two points of difference in the new and the old mode of inspection most earnestly pressed in the argument are:
1. That by the new regulations the horses offered must remain at the expense of the contractor twenty-four hours in the inspection-yard, into which no other person than the inspector and his assistants shall be permitted to enter until the inspection is completed.
2. That all horses presented for inspection that are manifestly an attempt at fraud on the Government, because of in*105curable disease, or any purposely concealed defect whatever, shall be branded on the left shoulder with the letter E.
The argument founded on these rules is presented under two propositions: .
1. That the adoption of them by the Cavalry Bureau rendered it impossible for the contractor to perform his contract, because no owner of horses would sell to him subject to have them branded as a fraud by inspectors of whom he knew nothing, and who might be incompetent or oppressive.
2. That the application of these rules to horses tendered under claimant’s contract abs 'lved him from the obligation of performance, or tender, or offer to perform, and left him at full liberty to sue for the profits which he had done nothing to earn beyond making the contract.
There is in a large class of cases coming before us from the Court of Claims a constant and ever-recurring attempt to apply to contracts made by the Government, and to give to its action under such contracts, a construction and an effect quite different from those which courts of justice are accustomed to apply,to contracts between individuals. There arises in the mind of parties and counsel interested for the individual against the United States a sense of the power and resources of this great Government, prompting appeals to its magnanimity and generosity, to abstract ideas of equity, coloring even the closest legal argument. These are addressed in vain to this court. Their proper theater is the halls of Congress, for that branch of the Government has limited the jurisdiction of the Court of Claims to cases arising out of contracts expressed or implied— contracts to which the United States is a party in the same sense in which an individual might be, and to which the ordinary principles of contracts must and should apply.
It would be very dangerous, indeed, to the best interests of the Government — it would probably lead to the speedy abolition of the Court of Claims itself — if, adopting the views so eloquently urged by counsel, that court, or this, should depart from the plain rule laid down above, and render decrees on the crude notions of the judges of what is or would be morally right between the Government and the individual.
In illustration of this course of observation the proposition that the regulation concerning branding the horses fraudulently *106presented for inspection made it impossible for the contractor to perform bis contract, may be well cited.
As between individuals, the impossibility which releases a man from the obligation to perform his contract must be a real impossibility, and not a mere inconvenience. And while such an impossibility may release the party from liability to suit for non-performance, it does not stand for performance so as to enable the party to sue and recover as if he had performed.
The argument on this branch of the subject in the case before us loses sight of these principles.
There was no impossibility. It is a mere inconvenience. If the contractor has the money and purchases his horses before he offers them for inspection, there is presented no obstruction whatever, by the rules of inspection, in obtaining tbe required number of horses. It is only because he desires to transfer the risk and loss of rejection from himself to the parties of whom he purchases, that he has difficulty. The Government made no agreement with him to protect him in this way. His ability to buy horses that would pass inspection was a part of the responsibility that he assumed, and which it was by no means impossible to perform, if he had the money and was ready to pay when he bought the horses of their original owners. Certainly no such circumstance as this would be set up for a moment in an ordinary suit between individuals as an impossibility, which released the party from his contract.
But suppose the contract had been between private parties, and an epidemic had prostrated every horse in the country with disease for the forty days allowed to buy and deliver sound horses by this contract, will any one assert that this would authorize the contractor to sue for the profits he could have made if no epidemic had occurred, though he neither then or afterward bought, or delivered, or tendered a horse 1 While such a public misfortune might possibly (we do not say it would)' have been a defense to a suit against him for nonperformance, it could be the foundation of no claim on his part to recover as if he had performed.
Perhaps no class of contracts has been more frequently the subject of judicial consideration than those for the future delivery of personal chattels. Such a contract is this. A contract in which the delivery is a condition-precedent to. payment; for the provision is that the delivery is to be at Chicago and *107Saint Louis, and the payment made afterward at Washington; and the time of payment is expressly made dependent upon appropriations made or to be made by Congress.
In approaching the inquiry into the effect which the action of the Bureau of Cavalry, in adopting these new rules for inspection had upon the rights of the parties to this contract, let us endeavor to free .ourselves from the consideration that the Government was one party to the contract, and that it was for a large number of horses; for we hold it to be clear that the principles which must govern the inquiry are the same as if the contract were between individuals, and the number of horses one or a dozen instead of four thousand. The increased diidculty arising from the number to be delivered in a given time was voluntarily assumed by the contractor, and he had the right, during the forty or fifty days allowed him, to deliver any number, smaller or greater, at one time.
We are also to remember that the question to be considered is not whether the action of the Cavalry Bureau would have been a defense if the claimant had been sued for a failure to perform his part of the contract, but whether it was sufficient to authorize him to abandon the contract himself, and as a plaintiff recover against the other party the profits which he would have, made if it had been fully performed.
With these views before us the regulations adopted can only have the effect claimed upon one or two grounds, namely, as a notification by the Government that it refused to receive the horses according to the t,erms of the contract, by which refusal the other party was released from his obligation to tender; or, that the Government had disabled itself from- complying, and therefore the other party was not bound to tender. The most recent wort, and a very able one, on “ Tlie law of sales of personal property,” lays down the rule on this subject as follows: 11A mere assertion that the party will be unable or will refuse to perform his contract is not sufficient, it must be a distinct and unequivocal absolute refusal to perform the promise, and must be treated and acted upon as such by the party to whom the promise was made; for if he afterward continue to urge or demand a compliance with the contract, it is plain that he does not understand it to be at an end.” (Benjamin on Sales, 424.) The English cases cited abundantly sustain the proposition. Avery v. Bowdin, in the Exchequer Court, (5 Ellis &amp; Blackburn, *108714,) affirmed iu the Exchequer Chamber, (6 Ellis &amp; Blackburn, 593,) is very much in point. It was an action arising out of a charter-party, one of the covenants in which was that the vessel-should be at Odessa, and lay there forty running days, within which time the shipper was to furnish her cargo, unless war should be sooner declared between Russia and Great Britain. The vessel came to Odessa on the 11th' March, and sailed away in ballast on the 17th April. It was proved that at four different times during this period the officers of the ship applied to the agent of the charterer for cargo, who said, “We have none for you,” and at last said, “ I have no cargo for you; you had-better go away.”
On this testimony a verdict was taken for the plaintiff, the ship-owner, subject to the judgment of the court on the law of the case. The judges, both in the Exchequer Court and in the Exchequer Chamber, were unanimous in the opinion that this .conduct of the agent did not relieve the plaintiff from the obligation to remain the forty days, and that on that count he could not recover.
In the case of Philpotts v. Evans, (5 Meeson &amp; Welsby, 475,) the defendant, who had agreed to • receive and pay for wheat, notified the plaintiff, before the time of delivery, that he would not receive it. The plaintiff tendered the wheat at the proper time, and the only question raised was, whether the measure of damages should be governed by the price of wheat at the time of the notice or at the time of the tender. Baron Parke said: “ I think no action would have lain for the breach of the contract at the time of the notice, but that plaintiff was bound to wait until the time of delivery to see whether the defendant would then receive it. The defendant might have chosen to take it, and would ha've been guilty of no breach of contract. His contract was not broken by his previous declaration that he would not accept.”
And though some of the judges in the subsequent case of Hochsteter v. Latour disapprove very properly of the extreme ground taken by Baron Parke, they all agree that the refusal to accept, on the part of defendant in such case, must be absolute and unequivocal, and must have been- acted on by the plaintiff.'
In the case before us there was no such refusal. The officers of the Government required of the plaintiff at all times the delivery of the horses of the kind and quality which he had agreed *109to deliver. And so far from refusing to accept, or intending to release plaintiff from bis obligation to deliver, it is found as a fact in the case that he was arrested and imprisoned by the military authorities for refusing to deliver the horses.
Nor can it be maintained that those regulations disabled the Government from performing its contract. They were just as ready to accept and as able to pay for the horses, notwithstanding the regulation. It may be said that the regulation tied the hands of the Government officers so that they could only accept horses inspected under it, and that to such inspection plaintiff was not bound to submit. But to this proposition the remark of Baron Parke is peculiarly applicable. The Government was not bound to apply to horses furnished under a previous contract these subsequent regulations. They were general in their terms, and were not adopted with a special view to these contracts. And the declarations of certain officers, that they would be governed by them, bound nobody, The correctness of this view is strikingly illustrated in this case, for the Court of Claims finds that the officers receiving cavalry horses at Saint Louis did receive horses on all contracts made previous to the adoption of the new regulations under the old mode of inspection, and did not apply to them the objectionable rules, and for that reason they reject Smoot’s claim as to the contract to deliver at Saint Louis.
We think it was equally his duty to have tendered horses at Chicago, and if the new regulations would have relieved him at all from that duty it would have been after he had made a tender, and objected to the application of the new rule of inspection, and the proper officer had refused to receive the horses without subjecting them to those rules. Until then, he could not justly claim that the Government had violated its contract.
In Mr. Smoot’s case, he never had any declaration made to him or his agent, from any one in charge of the execution of those contracts on the part of the Government, that the rule would be applied to him or his contract. He accepted and acted upon declarations made to other parties and not to himself.
We do not, however, believe that this would have varied the matter. It would have been no great hardship for him to have so far attempted compliance with his contract as to have tendered 20 or 50 horses under it, and tested the action *110which the Government officers would take when he was thus attempting to fulfill his contract and objecting to the application' of the new rule. Then the officers of the Government would have been legally called on to determine whether they would apply them or not. Until that time they were under no obligation, and had no right to commit themselves or others irrevocably on that subject.
On these grounds we think that claimant had no right to recover on either of the contracts sued on. It follows that the judgment of the Court of Claims in favor of Smoot on the Chicago contract is reversed, and the case remanded for judgment in favor of the United States; and the judgment of that Court on the Saint Louis contract, the subject of the appeal by Smoot, is affirmed.
The principles here announced must govern the case of the United States against Spicer, and require its reversal, and it is accordingly reversed, with directions to the Court of Claims to render judgment in favor of the United States.
